                Case 2:21-cv-06689-RGK-JC Document 24 Filed 12/06/21 Page 1 of 21 Page ID #:255



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                             8                              UNITED STATES DISTRICT COURT
                             9                            CENTRAL DISTRICT OF CALIFORNIA
                        10                                         WESTERN DIVISION
                        11 MICHAEL ANDREW ROBINSON, an                            Case No. 21-cv-06689-RGK-JC
                           individual; GRABBA LEAF, LLC, a
                        12 Florida limited liability company,                     The Hon. R. Gary Klausner
                        13                         Plaintiffs,
                                                                                  MODIFIED STIPULATED
                        14               vs.                                      PROTECTIVE ORDER
                        15 BEST PRICE DISTRIBUTORS, LLC, a [CHANGES MADE BY COURT]
                           California limited liability company,
                        16 doing business as WESTERN
                           WHOLESALE and as QUICK
                        17 TOBACCO WHOLESALE; KHALED
                           M. AHMED, an individual; SANDRA S.
                        18 CERVANTES, aka SANDRA AHMED,
                           an individual
                        19
                                 Defendants.
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     BUCHALTER
A PROFESSIONAL CORPORATION
       LOS ANGELES
                                 BN 47783328v2v1                              1
                                                             MODIFIED STIPULATED PROTECTIVE ORDER
                Case 2:21-cv-06689-RGK-JC Document 24 Filed 12/06/21 Page 2 of 21 Page ID #:256



                             1           WHEREAS, to facilitate the production and receipt of information during
                             2   discovery in the above-captioned litigation (the “Litigation”), Plaintiffs Michael
                             3   Andrew Robinson and Grabba Leaf, LLC (collectively, “Grabba Leaf” or
                             4   “Plaintiffs”) and Defendants, Best Price Distributors, LLC, doing business as
                             5   Western Wholesale and as Quick Tobacco Wholesale, and Khaled M. Ahmed and
                             6   Sandra S. Cervantes, a/k/a Sandra Ahmed (collectively, “Western Wholesale” or
                             7   “Defendants”; Grabba Leaf and Western Wholesale collectively shall be referred to
                             8   as the “Parties” or, if referred to individually, as a “Party”) agree and stipulate,
                             9   through their respective counsel, to the entry of the following Protective Order for
                        10       the protection of Confidential and Highly Confidential Materials (as defined herein)
                        11       that may be produced or otherwise disclosed during the course of this Litigation by
                        12       any party or non-party. The Court has been fully advised in the premises and has
                        13       found good cause for its entry.
                        14               Accordingly, IT IS HEREBY ORDERED that the terms and conditions of
                        15       this Protective Order shall govern the handling of discovery materials in the
                        16       Litigation:
                        17               1.        Applicability of Order: This Order does not and will not govern any
                        18       trial or other in court proceedings in this Litigation, but will otherwise be applicable
                        19       to and govern the handling of documents, depositions, deposition exhibits,
                        20       interrogatory responses, responses to requests for admissions, responses to requests
                        21       for production of documents, and all other discovery obtained pursuant to the
                        22       Federal Rules of Civil Procedure by or from a party in connection with the
                        23       Litigation (this information hereinafter referred to as “Discovery Material”). As
                        24       used herein, “Producing Party” or “Disclosing Party” shall refer to the parties to
                        25       this action that give testimony or produce documents or other information, and
                        26       “Receiving Party” shall refer to the parties to this action that receive such
                        27       information.
                        28       ///
     BUCHALTER
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       LOS ANGELES
                                 BN 47783328v2v1                              2
                                                           MODIFIED STIPULATED PROTECTIVE ORDER
                Case 2:21-cv-06689-RGK-JC Document 24 Filed 12/06/21 Page 3 of 21 Page ID #:257



                             1           2.        Designation of Material: Any Producing Party may designate
                             2   Discovery Material that is in its possession, custody or control to be produced to a
                             3   Receiving Party as Confidential or Highly Confidential under the terms of this
                             4   Order if the Producing Party in good faith reasonably believes that such
                             5   Discovery Material contains non-public, confidential material as defined in
                             6   Para. Nos. 4 and 5 below, (hereinafter Confidential Material or Highly Confidential
                             7   Material).
                             8           3.        Exercise of Restraint and Care in Designating Material for
                             9   Protection: Each Party or Non-Party that designates information or items for
                        10       protection under this Order must take care to limit any such designation to specific
                        11       material that qualifies under the appropriate standards. Mass, indiscriminate, or
                        12       routinized designations are prohibited.
                        13               4.        Confidential Material: For purposes of this Order,
                        14       Confidential Material is any information that a party believes in good faith to be
                        15       confidential or sensitive information, including, but not limited to, trade secrets,
                        16       research, design, development, financial, technical, marketing, planning, personal,
                        17       or commercial information, as such terms are used in Rule 26(c)(1)(G) of the
                        18       Federal Rules of Civil Procedure and any applicable case law interpreting Rule
                        19       26(c)(1)(G) or the former Rule 26(c)(7).
                        20               5.        Highly Confidential Material: For purposes of this Order,
                        21       Highly Confidential Material is any Confidential Material as defined in Para. No. 4
                        22       which also includes non-public product design and testing information or extremely
                        23       sensitive, highly confidential, non-public information, consisting either of trade
                        24       secrets or proprietary or other highly confidential business, financial, regulatory, or
                        25       strategic information (including information regarding business plans, technical
                        26       data, and non-public designs), the disclosure of which would create a substantial
                        27       risk of competitive or business injury to the Producing Party.
                        28
     BUCHALTER
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       LOS ANGELES
                                 BN 47783328v2v1                              3
                                                           MODIFIED STIPULATED PROTECTIVE ORDER
                Case 2:21-cv-06689-RGK-JC Document 24 Filed 12/06/21 Page 4 of 21 Page ID #:258



                             1           6.        Designating Confidential Material or Highly Confidential
                             2   Material: The designation of Discovery Material as Confidential Material or
                             3   Highly Confidential Material for purposes of this Order shall be made in the
                             4   following manner:
                             5                a.     Documents: In the case of documents or other materials (apart
                             6       from depositions or other pre-trial testimony), designation shall be made by
                             7       affixing the legend Confidential or Highly Confidential to each page containing
                             8       any Confidential or Highly Confidential Material, respectively.
                             9                b.     Deposition and Other Proceedings: In the case of depositions or
                        10           other pre-trial testimony, designation of the portion of the transcript (including
                        11           exhibits) which a Party believes contains Confidential Material or Highly
                        12           Confidential Material shall be made: (i) by a statement to such effect on the
                        13           record during the proceeding in which the testimony is received; or, (ii) by
                        14           written notice served on counsel of record in this Litigation within five (5)
                        15           business days after the receipt of the draft transcript of such proceeding.
                        16           However, before such five (5) day period expires, all testimony, exhibits and
                        17           transcripts of depositions or other testimony shall be treated as
                        18           Highly Confidential Material. All portions of deposition transcripts not
                        19           designated Confidential Material or Highly Confidential Material as provided in
                        20           Para. Nos. 4 and 5 shall be deemed not confidential.
                        21                    c.     Non-Written Materials: Any non-written Confidential Material
                        22           or Highly Confidential Material (e.g., videotape, audio tape, computer disk, etc.)
                        23           may be designated as such by labeling the outside of such non-written material
                        24           designated as Confidential or Highly Confidential. In the event a
                        25           Receiving Party generates any “hard copy” transcription or printout from any
                        26           such designated non-written materials, the person who generates such “hard
                        27           copy” transcription shall take reasonable steps to maintain the confidentiality of
                        28           such materials.
     BUCHALTER
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       LOS ANGELES
                                 BN 47783328v2v1                             4
                                                           MODIFIED STIPULATED PROTECTIVE ORDER
                Case 2:21-cv-06689-RGK-JC Document 24 Filed 12/06/21 Page 5 of 21 Page ID #:259



                             1           7.        Inadvertent Disclosure: The inadvertent failure to designate
                             2   Discovery Material as Confidential or Highly Confidential does not constitute a
                             3   waiver of such claim and may be remedied by prompt supplemental written notice
                             4   upon discovery of the inadvertent disclosure, with the effect that such Discovery
                             5   Material will be subject to the protections of this Order. The Receiving Party shall
                             6   exercise good faith efforts to ensure that copies it makes of Discovery Material
                             7   produced to it, and copies made by others who obtained such Discovery Material
                             8   directly or indirectly from the Receiving Party, include the appropriate
                             9   confidentiality legend, to the same extent that the Discovery Material has been
                        10       marked with the appropriate confidentiality legend by the Producing Party.
                        11               8.        Notes of Confidential Material or Highly Confidential Material:
                        12       Any notes, lists, memoranda, indices, compilations prepared or based on an
                        13       examination of Confidential Material or Highly Confidential Material, that quote
                        14       from or paraphrase, Confidential Material or Highly Confidential Material with
                        15       such specificity that the Confidential Material or Highly Confidential Material can
                        16       be identified, or by reasonable logical extension can be identified, shall be accorded
                        17       the same status of confidentiality as the underlying Confidential Material or Highly
                        18       Confidential Material from which they are made and shall be subject to all of the
                        19       terms of this Protective Order.
                        20               9.        Notice To Non-Parties: Any Party issuing a subpoena to a non-party
                        21       shall enclose a copy of this Protective Order with a request that, within ten (10)
                        22       business days, the non-party either request the protection of this Protective Order or
                        23       notify the issuing party that the non-party does not need the protection of this
                        24       Protective Order or wishes to seek different protection.
                        25               10.       Persons Authorized To Receive Confidential Material: Discovery
                        26       Material designated Confidential may be disclosed, summarized, described,
                        27       characterized or otherwise communicated or made available in whole or in part
                        28       only to the following persons:
     BUCHALTER
A PROFESSIONAL CORPORATION
       LOS ANGELES
                                 BN 47783328v2v1                              5
                                                           MODIFIED STIPULATED PROTECTIVE ORDER
                Case 2:21-cv-06689-RGK-JC Document 24 Filed 12/06/21 Page 6 of 21 Page ID #:260



                             1                a.   The Court, persons employed by the Court who are necessary for
                             2       the handling of the Litigation, and court reporters transcribing the testimony or
                             3       argument at a hearing, trial or deposition in this Litigation or any appeal there
                             4       from;
                             5                b.   Counsel of record in this Litigation, as well as additional counsel,
                             6       paralegals, technical, administrative and clerical employees working under the
                             7       direct supervision of such counsel;
                             8                c.   Subject to Para. No. 12 hereof, experts or consultants assisting
                             9       any counsel of record in this Litigation, provided such experts and consultants
                        10           have signed the “Agreement Concerning Information Covered by Protective
                        11           Order” attached hereto as Ex. A;
                        12                    d.   Michael A. Robinson, provided that he signs the “Agreement
                        13           Concerning Information Covered by Protective Order” attached as Ex. A;
                        14                    e.   Khaled M. Ahmed, provided that he signs the “Agreement
                        15           Concerning Information Covered by Protective Order” attached as Ex. A;
                        16                    f.   Sandra S. Cervantes, a/k/a Sandra Ahmed, provided that she signs
                        17           the “Agreement Concerning Information Covered by Protective Order” attached
                        18           as Ex. A;
                        19                    g.   Officers, directors or employees of parties who have a need to
                        20           know such information for purposes of this Litigation and who have signed the
                        21           “Agreement Concerning Information Covered by Protective Order” attached
                        22           hereto as Ex. A;
                        23                    h.   Graphics, translation, or design services retained by counsel of
                        24           record in this Litigation for purposes of this Litigation, provided such services
                        25           have signed the “Agreement Concerning Information Covered by Protective
                        26           Order” attached hereto as Ex. A. A signature by an authorized representative
                        27           of the company who confirms that he or she has appropriately advised the
                        28
     BUCHALTER
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       LOS ANGELES
                                 BN 47783328v2v1                             6
                                                         MODIFIED STIPULATED PROTECTIVE ORDER
                Case 2:21-cv-06689-RGK-JC Document 24 Filed 12/06/21 Page 7 of 21 Page ID #:261



                             1       relevant employees of the confidentiality obligations in this order and taken
                             2       reasonable steps to comply thereto shall be sufficient;
                             3                i.   Commercial copy vendors retained by counsel of record in this
                             4       action for purposes of this Litigation, provided such vendors have signed the
                             5       “Agreement Concerning Information Covered by Protective Order” attached
                             6       hereto as Ex. A. A signature by an authorized representative of the company
                             7       who confirms that he or she has appropriately advised the relevant employees
                             8       of the confidentiality obligations in this order and taken reasonable steps to
                             9       comply thereto shall be sufficient;
                        10                    j.   During their depositions, witnesses in the Litigation who agree on
                        11           the record to maintain the confidentiality of relevant documents or information
                        12           shown to them or who have signed the “Agreement Concerning Information
                        13           Covered by Protective Order” attached hereto as Ex. A (except that persons
                        14           described in sub-paragraph (k) below do not need to sign Ex. A to be shown
                        15           Confidential Material in their depositions). In the event of refusal of the
                        16           witness to execute such confidentiality agreement, such witness shall
                        17           nevertheless be deemed bound by the terms of this Order; furthermore the
                        18           party or parties seeking to use such information and the Producing Party will
                        19           secure from a court having jurisdiction over such witness such order and
                        20           directions directed specifically to such witness containing such provisions as
                        21           are consistent with the terms of this Order; and the Producing Party will
                        22           cooperate fully in the making of any such application;
                        23                    k.   Any person indicated by a document marked as
                        24           Confidential Material to be an author, addressee, or copy recipient of the
                        25           Confidential Material, or as to whom there has been testimony, whether at
                        26           deposition or trial, or by declaration or affidavit, that the person was the author
                        27           or recipient of the Confidential Material; and,
                        28
     BUCHALTER
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       LOS ANGELES
                                 BN 47783328v2v1                             7
                                                        MODIFIED STIPULATED PROTECTIVE ORDER
                Case 2:21-cv-06689-RGK-JC Document 24 Filed 12/06/21 Page 8 of 21 Page ID #:262



                             1                 l.     Any other person, only upon order of the Court or upon
                             2       stipulation of the Producing Party who has signed the “Agreement Concerning
                             3       Information Covered by Protective Order” attached hereto as Exhibit A.
                             4           11.        Persons Authorized To Receive Highly Confidential Material:
                             5   Except as specifically provided for in this or subsequent Court orders, Highly
                             6   Confidential Material or its contents shall not be disclosed, summarized, described,
                             7   or otherwise communicated or made available in whole or in part to any person or
                             8   entity, directly or indirectly, other than the following:
                             9                 a.     The Court, persons employed by the Court who are necessary for
                        10           the handling of the Litigation, and court reporters transcribing the testimony or
                        11           argument at a hearing, trial or deposition in this Litigation or any appeal there
                        12           from;
                        13                     b.     Counsel of record in this Litigation, as well as additional counsel,
                        14           paralegals, technical, administrative and clerical employees working under the
                        15           direct supervision of such counsel, provided each has signed the “Agreement
                        16           Concerning Information Covered by Protective Order” attached hereto as Ex. A;
                        17                     c.     Subject to Para. 12 hereof, experts or consultants necessary to
                        18           assist counsel of record in this Litigation, provided such experts and
                        19           consultants have signed the “Agreement Concerning Information Covered by
                        20           Protective Order” attached hereto as Ex. A;
                        21                     d.     Graphics, translation, or design services retained by counsel for
                        22           purposes of preparing demonstrative or other exhibits, provided such services
                        23           have signed the “Agreement Concerning Information Covered by Protective
                        24           Order” attached as Ex. A;
                        25                     e.     Commercial copy vendors retained by counsel for purposes of this
                        26           Litigation, provided such vendors have signed the “Agreement Concerning
                        27           Information Covered by Protective Order” attached hereto as Ex. A;
                        28
     BUCHALTER
A PROFESSIONAL CORPORATION
       LOS ANGELES
                                 BN 47783328v2v1                                8
                                                            MODIFIED STIPULATED PROTECTIVE ORDER
                Case 2:21-cv-06689-RGK-JC Document 24 Filed 12/06/21 Page 9 of 21 Page ID #:263



                             1                 f.     During their depositions, witnesses in the Litigation to whom
                             2       disclosure is reasonably necessary and who have signed the “Agreement
                             3       Concerning Information Covered by Protective Order” attached hereto as
                             4       Ex. A (except that persons described in sub-paragraph (g) below do not need to
                             5       sign Ex. A to be shown Highly Confidential Material in their depositions);
                             6                 g.     Any person indicated by a document marked Highly Confidential
                             7       Material to be an author, addressee, or copy recipient of the
                             8       Highly Confidential Material, or as to whom there has been testimony, whether
                             9       at deposition or trial or by declaration or affidavit, that the person was the
                        10           author or recipient of the Highly Confidential Material; and
                        11                     h.     Any other person, only upon order of the Court or upon
                        12           stipulation of the Producing Party, and who has signed the “Agreement
                        13           Concerning Information Covered by Protective Order” attached as Ex. A.
                        14               12.        Use of Discovery Material: Discovery Material containing
                        15       Confidential and/or Highly Confidential Material shall be used solely for purposes
                        16       of the Litigation, including any appeal and retrial. Any person or entity in
                        17       possession of Discovery Material designated Confidential or Highly Confidential
                        18       (defined below) shall maintain those materials in accordance with Para. No. 15
                        19       below.
                        20               13.        Agreement Must Be Signed Prior To Disclosure. Each person to
                        21       whom Confidential or Highly Confidential Material may be disclosed that is also
                        22       required to sign the “Agreement Concerning Information Covered by Protective
                        23       Order” (attached hereto as Ex. A) pursuant to Paragraphs 10(c)-10(j) and 10(l),
                        24       11(b)-11(f), and 11(h) shall do so prior to the time such Material is disclosed to
                        25       him/her.
                        26               14.        Exclusion of Individuals From Depositions: Counsel for any
                        27       Producing Party shall have the right to exclude from depositions any person who is
                        28       not authorized by this Order to receive documents or information designated
     BUCHALTER
A PROFESSIONAL CORPORATION
       LOS ANGELES
                                 BN 47783328v2v1                               9
                                                            MODIFIED STIPULATED PROTECTIVE ORDER
               Case 2:21-cv-06689-RGK-JC Document 24 Filed 12/06/21 Page 10 of 21 Page ID #:264



                             1   Confidential or Highly Confidential, but only during periods of examination or
                             2   testimony directed to or comprising information that is Confidential or
                             3   Highly Confidential.
                             4           15.       Storage of Confidential Material or Highly Confidential Material:
                             5   The recipient of any Confidential Material or Highly Confidential Material that is
                             6   provided under this Protective Order shall maintain such information in a
                             7   reasonably secure and safe manner that ensures that access is limited to the persons
                             8   authorized under this Order.
                             9           16.       Filing of Confidential Material or Highly Confidential Material.
                        10       Without written permission from the Producing Party or a court order, a party may
                        11       not file in the public record in this action any Confidential Material or
                        12       Highly Confidential Material. The parties shall comply with L.R. 79-5 when
                        13       seeking to file Confidential Material or Highly Confidential Material under seal.
                        14               The party desiring to place any Confidential Material or Highly Confidential
                        15       Material before the Court shall lodge the information in a sealed envelope along
                        16       with an application to file the papers or the portion thereof containing
                        17       Confidential Material or Highly Confidential Material under seal and a copy of a
                        18       Proposed Order Sealing Documents. Said envelope shall be endorsed with the title
                        19       of the Litigation, an indication of the nature of the contents of such sealed envelope,
                        20       the identity of the party filing the materials, the phrase Confidential Material or
                        21       Highly Confidential Material, and a statement substantially in the following form:
                        22
                                               THIS ENVELOPE CONTAINS MATERIALS SUBJECT TO A
                        23
                                               PROTECTIVE ORDER ENTERED IN THIS LITIGATION. IT
                        24
                                               IS NOT TO BE OPENED NOR ARE ITS CONTENTS TO BE
                        25
                                               DISPLAYED, REVEALED, OR MADE PUBLIC, EXCEPT BY
                        26
                                               ORDER OF THE COURT. UNLESS THE COURT ORDERS
                        27
                                               THAT IT NOT BE FILED, IT SHALL BE FILED UNDER SEAL.
                        28
     BUCHALTER
A PROFESSIONAL CORPORATION
       LOS ANGELES
                                 BN 47783328v2v1                             10
                                                           MODIFIED STIPULATED PROTECTIVE ORDER
               Case 2:21-cv-06689-RGK-JC Document 24 Filed 12/06/21 Page 11 of 21 Page ID #:265



                             1   Additionally, within five (5) business days from the date that the papers (or portions
                             2   thereof) were filed under seal consistent with the above procedures, the Party who
                             3   filed the papers under seal also shall file in the public record a version of the papers
                             4   that has been redacted to omit the Confidential Material or Highly Confidential
                             5   Material (or any references thereto).
                             6           The parties also shall comply with L.R. 79-5.4 with respect to the appropriate
                             7   treatment of personally identifying information in connection with any filing with
                             8   the Court.
                             9           17.        No Prejudice: Agreeing to be bound by this Protective Order,
                        10       agreeing to and/or producing or receiving Confidential Material or Highly
                        11       Confidential Material or otherwise complying with the terms of this Order shall
                        12       not:
                        13                     a.      Prejudice in any way the rights of the parties to object to the
                        14           production of documents they consider not subject to discovery, or operate as
                        15           an admission by any party that the restrictions and procedures set forth herein
                        16           constitute adequate protection for any particular information deemed by any
                        17           party to be Confidential Material or Highly Confidential Material;
                        18                     b.      Prejudice in any way the rights of any party to object to the
                        19           authenticity or admissibility into evidence of any document, testimony or other
                        20           evidence subject to this Order;
                        21                     c.      Prejudice in any way the rights of a party to seek a determination
                        22           by the Court whether any Confidential Material or Highly Confidential
                        23           Material should be subject to the terms of this Order;
                        24                     d.      Prejudice in any way the rights of a party to petition the Court for
                        25           a protective order relating to any purportedly confidential information; or
                        26                     e.      Prevent a Disclosing Party from authorizing disclosure of its own
                        27           Confidential Material or Highly Confidential Material to any party.
                        28
     BUCHALTER
A PROFESSIONAL CORPORATION
       LOS ANGELES
                                 BN 47783328v2v1                                11
                                                             MODIFIED STIPULATED PROTECTIVE ORDER
               Case 2:21-cv-06689-RGK-JC Document 24 Filed 12/06/21 Page 12 of 21 Page ID #:266



                             1           18.        Challenging Designation of Materials: A party shall not be
                             2   obligated to challenge the propriety of a Confidential Material or
                             3   Highly Confidential Material designation at the time made, and failure to do so
                             4   shall not preclude a subsequent challenge thereto at any time during the pendency
                             5   of this Litigation that is not inconsistent with the District Judge’s scheduling/other
                             6   orders.
                             7                 a.      Challenge: The Receiving Party may challenge the propriety of a
                             8       Confidential Material or Highly Confidential Material designation by providing
                             9       to Producing Party a writing which briefly: (i) identifies with reasonable
                        10           particularity the documents and/or information which are the subject of the
                        11           challenge; (ii) describes the basic legal or factual grounds for the challenge; and,
                        12           (iii) requests to “meet and confer” concerning the matter (per L.R. 37-1).
                        13                     b.      “Meet and Confer” and Motion: Once a challenge is made, the
                        14           Producing Party must “meet and confer” with the Receiving Party within
                        15           ten (10) business days from the date of the request; and, if necessary, Producing
                        16           Party will bear the burdens of proof and persuasion in moving for a Protective
                        17           Order (per L.R. 37-2) to uphold the challenged Confidential Material or
                        18           Highly Confidential Material designation(s). If the Producing Party does not
                        19           initiate the discovery motion process under L.R. 37 within ten (10) business
                        20           days following the “meet and confer” meeting, the subject Confidential Material
                        21           designation or Highly Confidential Material designation is effectively
                        22           withdrawn and the subject documents and material may be used for all purposes
                        23           in this Litigation. The Receiving Party must make de-designation requests in
                        24           good faith.
                        25                     c.      Status of Challenged Designation Pending Judicial
                        26           Determination: Until the court rules on the timely filed Motion for Protective
                        27           Order, all Parties shall continue to afford the material in question the level of
                        28           protection to which it is entitled under the Producing Party’s designation.
     BUCHALTER
A PROFESSIONAL CORPORATION
       LOS ANGELES
                                 BN 47783328v2v1                              12
                                                            MODIFIED STIPULATED PROTECTIVE ORDER
               Case 2:21-cv-06689-RGK-JC Document 24 Filed 12/06/21 Page 13 of 21 Page ID #:267



                             1           19.       No Application to Public or Otherwise Available Information:
                             2   This Order shall not limit or restrict a Receiving Party’s use of information that the
                             3   Receiving Party can demonstrate: (i) was lawfully in the Receiving Party’s
                             4   possession prior to such information being designated as protected material in the
                             5   Litigation and that the Receiving Party is not otherwise obligated to treat as
                             6   confidential; (ii) was obtained without any benefit or use of protected material from
                             7   a third party having the right to disclose such information to the Receiving Party
                             8   without restriction or obligation of confidentiality; (iii) was independently
                             9   developed by it after the time of disclosure by personnel who did not have access to
                        10       the Producing Party’s protected material; or, (iv) has been published to the general
                        11       public. If the Receiving Party believes that the Disclosing Party has designated
                        12       information that is covered by any of the preceding categories as
                        13       Confidential Material or Highly Confidential Material, the Receiving Party shall
                        14       challenge the propriety of such designation using the procedure outlined in
                        15       Para. No. 18 above. Any challenged designation remains in force until the
                        16       propriety of such designation has been decided as outlined above.
                        17               20.       No Waiver of Privilege: Disclosure (including production) of
                        18       information that a Party or non-party later claims should not have been disclosed
                        19       because of a privilege, including, but not limited to, the attorney-client privilege or
                        20       work product doctrine (“Privileged Information”), shall not constitute a waiver of,
                        21       or estoppel as to, any claim of attorney-client privilege, attorney work-product, or
                        22       other ground for withholding production as to which the Producing Party would be
                        23       entitled in the litigation or any other federal or state proceeding. This Order is
                        24       intended to provide the full protection afforded by Federal Rule of Evidence 502(d),
                        25       providing that “A Federal court may order that the privilege or protection is not
                        26       waived by disclosure connected with the litigation pending before the court — in
                        27       which event the disclosure also is not a waiver in any other Federal or State
                        28       proceeding.” The procedure is as follows,
     BUCHALTER
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       LOS ANGELES
                                 BN 47783328v2v1                             13
                                                           MODIFIED STIPULATED PROTECTIVE ORDER
               Case 2:21-cv-06689-RGK-JC Document 24 Filed 12/06/21 Page 14 of 21 Page ID #:268



                             1                a.   Upon discovery by a Producing Party (or upon receipt of notice
                             2       from another Party) that he/she/it may have produced Privileged Information,
                             3       the Producing Party shall, within ten (10) days of such discovery, request the
                             4       return of such information in writing by identifying the Privileged Information
                             5       and stating the basis on which the Privileged Information should be withheld
                             6       from production.
                             7                b.   After being notified, all other Parties must promptly return,
                             8       sequester, or destroy the Privileged Information and any copies he/she/it has;
                             9       must not use or disclose the information until the claim is resolved; and must
                        10           take reasonable steps to retrieve the Privileged Information if he/she/it
                        11           disclosed the Privileged Information before being notified.
                        12                    c.   If any Party disputes the privilege claim (“Objecting Party”), that
                        13           Objecting Party shall notify the Producing Party of the dispute and the basis
                        14           therefore in writing within thirty (30) days of receipt of the request for the
                        15           return of the Privileged Information.
                        16                    d.   The Parties thereafter shall meet and confer in good faith
                        17           regarding the disputed claim within thirty (30) days.
                        18                    e.   In the event that the Parties do not resolve their dispute, either
                        19           Party may bring a motion for a determination of whether a privilege applies. If
                        20           such a motion is made, the Producing Party shall submit to the Court for in
                        21           camera review under seal a copy of the disputed information in connection
                        22           with its motion papers. The submission to the Court shall not constitute a
                        23           waiver of any privilege or protection. The Producing Party must preserve the
                        24           information claimed to be privileged or otherwise protected until the claim is
                        25           resolved.
                        26                    f.   Except as expressly set forth herein, nothing in this provision
                        27           shall limit the bases on which the Objecting Party may challenge the assertion
                        28           of any privilege or protection by the Producing Party. In addition, nothing in
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                                 BN 47783328v2v1                             14
                                                         MODIFIED STIPULATED PROTECTIVE ORDER
               Case 2:21-cv-06689-RGK-JC Document 24 Filed 12/06/21 Page 15 of 21 Page ID #:269



                             1       this provision shall permit the Producing Party to seek to withhold or “claw
                             2       back” a previously-produced document in this Litigation if that document was
                             3       the subject of deposition testimony in this Litigation and the Producing Party
                             4       did not provide notice, as described above in paragraph 6(b), within thirty (30)
                             5       days after the deposition that the document was privileged or protected and
                             6       should be returned.
                             7           21.       Additional Parties or Attorneys: Absent further Order of the Court:
                             8   In the event additional parties join or intervene in this action, the newly joined
                             9   party(ies) shall not have access to Confidential Material or Highly Confidential
                        10       Material until its counsel has executed and, at the request of any party, filed with
                        11       the Court its agreement to be fully bound by this Order. If any additional attorneys
                        12       make appearances in this Litigation, those attorneys shall not have access to
                        13       Confidential Material or Highly Confidential Material until they execute the
                        14       “Agreement Concerning Information Covered by Protective Order” attached hereto
                        15       as Ex. A.
                        16               22.       Protective Order Remains In Force: This Protective Order shall
                        17       remain in force and effect until modified, superseded, or terminated by consent of
                        18       the parties or by order of the Court made upon reasonable written notice. Unless
                        19       otherwise ordered, or agreed upon by the parties, this Protective Order shall survive
                        20       the termination of this action. The Court retains jurisdiction even after termination
                        21       of this action to enforce this Protective Order and to make such amendments,
                        22       modifications, deletions and additions to this Protective Order as the Court may
                        23       from time to time deem appropriate.
                        24               23.       No Prejudice For Further Relief: This Protective Order is without
                        25       prejudice to the right of any party to seek other or further relief from the Court.
                        26               24.       No Waiver of Grounds For Producing Material: This Protective
                        27       Order shall not be construed as waiving any right to assert a claim of privilege,
                        28       relevance, overbreadth, burdensomeness or other grounds for not producing
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       LOS ANGELES
                                 BN 47783328v2v1                             15
                                                           MODIFIED STIPULATED PROTECTIVE ORDER
               Case 2:21-cv-06689-RGK-JC Document 24 Filed 12/06/21 Page 16 of 21 Page ID #:270



                             1   material called for, and access to such material shall be only as otherwise provided
                             2   by the discovery rules and other applicable laws.
                             3           25.       Conclusion of Litigation: Within sixty (60) days after receiving
                             4   notice of the entry of an order, judgment or decree finally disposing of this
                             5   Litigation, all persons having received Confidential Material or Highly Confidential
                             6   Material – other than the Court/Court personnel -- shall either return such material
                             7   and all copies thereof to counsel for the Producing Party, or destroy all such
                             8   Confidential Material or Highly Confidential Material and, in either case, certify
                             9   that fact to counsel for the Producing Party. Outside counsel of record for the
                        10       parties shall be entitled to retain court papers, depositions, trial transcripts and
                        11       attorney work product, provided that such outside counsel of record shall not
                        12       disclose Confidential Material or Highly Confidential Material to any person
                        13       except pursuant to a court order or agreement with the Party that produced the
                        14       Confidential Material or Highly Confidential Material. All material returned to the
                        15       parties or their counsel by the Court shall likewise be disposed of in accordance
                        16       with this Paragraph. Nothing in this Order binds the Court/Court personnel.
                        17               26.       No Loss of Confidential or Highly Confidential Status By Use In
                        18       Litigation or Appeal: In the event that any Confidential or Highly Confidential
                        19       Material is used in any court proceeding in this Litigation or any appeal therefrom,
                        20       such Confidential or Highly Confidential Material shall not lose its status as
                        21       Confidential or Highly Confidential through such use unless otherwise ordered by
                        22       the Court. Counsel shall comply with all applicable local rules and shall confer on
                        23       such procedures that are necessary to protect the confidentially of any documents,
                        24       information and transcripts used in the course of any court proceedings, including
                        25       petitioning the Court to close the court room.
                        26               27.       Documents Filed Under Seal: Documents filed Under Seal, and
                        27       which the Court Orders as Filed Under Seal, for whom as long as the Under Seal
                        28       Order is maintained by the Court, shall be maintained and treated as
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                                 BN 47783328v2v1                              16
                                                           MODIFIED STIPULATED PROTECTIVE ORDER
               Case 2:21-cv-06689-RGK-JC Document 24 Filed 12/06/21 Page 17 of 21 Page ID #:271



                             1   Highly Confidential by the parties. Again, nothing in this Order binds the Court/
                             2   Court personnel. See, e.g., Local Rule 79-7 (governing disclosure/non-disclosure
                             3   of confidential court records).
                             4           28.       Redaction Allowed: Any Producing Party may redact from the
                             5   documents and things it produced matter that the Producing Party claims is subject
                             6   to attorney-client privilege, work product immunity, a legal prohibition against
                             7   disclosure, or any other privilege or immunity, subject to the provision of a log
                             8   specifying the basis for redaction of each such document/thing upon request. The
                             9   Producing Party shall mark each thing where matter has been redacted with a
                        10       legend stating “REDACTED,” as appropriate, or a comparable notice. Where a
                        11       document consists of more than one page, at least each page on which information
                        12       has been redacted shall be so marked. The Producing Party shall preserve an
                        13       unredacted version of each such document.
                        14               29.       Modifications: Proposed Modifications to this Protective Order –
                        15       except those made by the Court sua sponte -- must be in writing and signed by the
                        16 Parties.
                        17
                                  30. Violations of Protective Order: In the event that any person or party

                        18
                           should violate the terms of this Protective Order, the aggrieved Disclosing Party

                        19
                                 should apply to the Court obtain relief against any such person or party violating or

                        20       threatening to violate any of the terms of this Protective Order. In the event that the

                        21       aggrieved Disclosing Party seeks injunctive relief, it must petition the

                        22       District Judge for such relief, which may be granted at the sole discretion of the

                        23       District Judge. The parties and any other person subject to the terms of this

                        24       Protective Order agree that this Court shall retain jurisdiction over it and them for

                        25       the purpose of enforcing this Protective Order.
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                                 BN 47783328v2v1                             17
                                                           MODIFIED STIPULATED PROTECTIVE ORDER
               Case 2:21-cv-06689-RGK-JC Document 24 Filed 12/06/21 Page 18 of 21 Page ID #:272



                             1           31.       Headings: The headings herein are provided only for the convenience
                             2   of the parties, and are not intended to define or limit the scope of the express terms
                             3   of this Protective Order
                             4

                             5   Dated: December 6, 2021
                             6
                                                                              _______________/s/________________
                             7                                                    Honorable Jacqueline Chooljian
                                                                                  United Stated Magistrate Judge
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                                 BN 47783328v2v1                             18
                                                           MODIFIED STIPULATED PROTECTIVE ORDER
               Case 2:21-cv-06689-RGK-JC Document 24 Filed 12/06/21 Page 19 of 21 Page ID #:273



                             1   Dated: November 22, 2021        Respectfully stipulated to and submitted by,
                             2

                             3
                                                                                       /s/

                             4                                                Thomas J. Speiss, III

                             5                                      THOMAS J. SPEISS III
                                                                    BUCHALTER,
                             6                                      A PROFESSIONAL CORPORATION
                                                                    Attorneys for Plaintiffs,
                             7                                      MICHAEL ANDREW ROBINSON,
                             8                                      an Individual, and GRABBA LEAF,
                                                                    LLC, |a Florida limited liability company
                             9

                        10
                                                                                      /s/
                        11
                                                                                Diana Spielberger
                        12

                        13
                                                                    LAW OFFICES OF DIANA
                                                                    SPIELBERGER
                        14                                          Attorneys for Defendants BEST PRICE
                                                                    DISTRIBUTORS, LLC, a California
                        15                                          limited liability company, doing business
                                                                    as WESTERN WHOLESALE and as
                        16                                          QUICK TOBACCO WHOLESALE;
                        17                                          KHALED M. AHMED, an individual;
                                                                    SANDRA S. CERVANTES, aka
                        18                                          SANDRA AHMED, an individual
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                                 BN 47783328v2v1                   19
                                                   MODIFIED STIPULATED PROTECTIVE ORDER
               Case 2:21-cv-06689-RGK-JC Document 24 Filed 12/06/21 Page 20 of 21 Page ID #:274



                             1                                            EXHIBIT A

                             2                                   UNITED STATES DISTRICT COURT

                             3                               CENTRAL DISTRICT OF CALIFORNIA

                             4
                                 MICHAEL ANDREW ROBINSON, an                      Case No. 21-cv-06689-RGK-JC
                             5   individual; GRABBA LEAF, LLC, a
                                 Florida limited liability company,               The Hon. R. Gary Klausner
                             6
                                                   Plaintiffs,
                             7
                                         vs.                                      AGREEMENT CONCERNING
                             8                                                    INFORMATION COVERED BY
                           BEST PRICE DISTRIBUTORS, LLC, a                        STIPULATED PROTECTIVE
                             9
                           California limited liability company,                  ORDER
                           doing business as WESTERN
                        10 WHOLESALE and as QUICK
                           TOBACCO WHOLESALE; KHALED
                        11 M. AHMED, an individual; SANDRA S.
                           CERVANTES, aka SANDRA AHMED,
                        12 an individual

                        13                         Defendants.
                        14

                        15

                        16               I, ____________________________, hereby acknowledge that I have
                        17       received a copy of the Modified Stipulated Protective Order entered in this action
                        18       (21-cv-689-RGK-JC) by the United States District Court for the Central District of
                        19       California, Western Division (hereinafter, “the Protective Order”).
                        20               I have either read the Protective Order or have had the terms of the
                        21       Protective Order explained to me by my attorney.
                        22               I understand the terms of the Protective Order and agree to comply with and
                        23       to be bound by such terms.
                        24               If I receive documents or information designated as Confidential Material or
                        25       Highly Confidential Material (as those terms are defined in the Protective Order), I
                        26       understand that such information is provided to me pursuant to the terms and
                        27       restrictions of the Protective Order.
                        28       ///
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                                 BN 47783328v2v1                             20
                                  AGREEMENT CONCERNING INFORMATION COVERED BY STIPULATED PROTECTIVE ORDER
               Case 2:21-cv-06689-RGK-JC Document 24 Filed 12/06/21 Page 21 of 21 Page ID #:275



                             1           I agree to hold in confidence and not further disclose or use for any purpose
                             2   (other than is permitted by the Protective Order) any information disclosed to me
                             3   pursuant to the terms of the Protective Order.
                             4           I hereby submit myself to the jurisdiction of the United States District Court
                             5   for the Central District of California for resolution of any matters pertaining to the
                             6   Protective Order.
                             7           My address is _________________________________________________
                             8           My e-mail and telephone number is ________________________________
                             9           My present employer is _________________________________________
                        10               Dated: __________________________________________
                        11               Signed: __________________________________________
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                                 BN 47783328v2v1                            21
                                  AGREEMENT CONCERNING INFORMATION COVERED BY STIPULATED PROTECTIVE ORDER
